Dear Secretary Carnahan:
This opinion letter responds to your request dated January 26, 2009, for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition (version 2) submitted by Angela Basham.
We conclude that the petition must be rejected for the following reasons:
  • The petition and affidavit are not in the proper form as prescribed by Section 116.040, RSMo;
  • The petition and affidavit are not in the proper form as prescribed by Section 116.080, RSMo; and
  • The proposed summary statement and any other information submitted for the convenience of the Missouri Secretary of State must be separate from the body of the proposed amendment.
Because of our rejection of the form of the petition for the reasons stated above, we have not reviewed the petition to determine if additional deficiencies exist. Pursuant to *Page 2 
Section 116.332.3, RSMo, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
Very truly yours,
                                                         _________________ CHRIS KOSTER Attorney General *Page 1 